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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EDGAR and MARIA RIVEROS-SANCHEZ,                           :
individually and as husband and wife,                      :
                                                           :
                                   Plaintiffs,             : NO. 19-CV-00545-JFL
                                                           :
          vs.                                              :
                                                           :
CITY OF EASTON, et al.,                                    :
                                                           :
                                   Defendants.             : JURY TRIAL DEMANDED
                                                           :

    DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS THE COMPLAINT

I.        PROCEDURAL HISTORY

          Plaintiffs, Edgar and Maria Riveros-Sanchez, commenced this action by filing a Praecipe

for Writ of Summons in the Court of Common Pleas of Northampton County, Pennsylvania (the

“State Court”) on July 28, 2017 against Defendant, City of Easton (“Easton” or the “City”), and

Defendant, Elizabeth Gehman, in her individual capacity and in her official capacity as a Rental

Housing Inspector for the City. Plaintiffs served Easton and Ms. Gehman with the Writ of

Summons (the “Writ”) on or about August 4, 2017.

          Plaintiffs filed their Complaint in the State Court on August 6, 2018, naming Easton, Ms.

Gehman, and Defendant, John Bast, individually and in his official capacity as the Chief of the

City’s Fire Department,1 as defendants in the Complaint. In the Complaint, Plaintiffs bring

federal claims against Defendants pursuant to 42 U.S.C. § 1983 (“Section 1983”) for both

substantive and procedural due process violations. Plaintiffs also bring state law claims against

Defendants for negligence and tortious interference with contract.




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    Mr. Bast retired as the City’s Fire Chief in September 2018.
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       Plaintiffs did not initially serve Defendants with the Complaint. Plaintiffs reinstated the

Complaint on January 14, 2019. Plaintiffs’ Certificate of Service attached to the Reinstated

Complaint indicates that the Reinstated Complaint was served on January 7, 2019 by regular

mail. The Northampton County Sheriff served Mr. Bast with the Reinstated Complaint on

January 16, 2019. On February 6, 2019, Defendants removed this action to this Honorable

Court. Defendants now move to dismiss the causes of action against them set forth in the

Complaint in their entirety.

II.    STATEMENT OF FACTS

       Plaintiffs allege that this action arises from the “unlawful condemnation” of their

property located at 723 Washington Street, Easton, Northampton County, Pennsylvania 18042

(the “Property”). Compl. ¶ 6. Plaintiffs allege that they purchased the Property in 2003 and

rented it to various tenants “[o]ver the next several years.” Compl. ¶¶ 8–9. Plaintiffs allege that

in August 2014, they “applied and were approved for a renewal of their rental registration.”

Compl. ¶ 10.

       Plaintiffs allege that on or about July 28, 2015, their tenants were “forced” to vacate the

Property after an inspection by the City’s License and Inspection Department. Compl. ¶ 11.

According to Plaintiffs, they were advised that “there were violations on the [P]roperty including

but not limited to [their] failure to install a fire alarm system” and that “they needed to install a

fire alarm system on the [P]roperty in order to pass their final inspection.” Compl. ¶¶ 12–13.

       Plaintiffs allege that on or about August 21, 2015, their account executive from Tyco Fire

Alarm System (“Tyco”) sent an e-mail to Ms. Gehman “informing her that Tyco was working

with Plaintiffs on installing [a] fire alarm.” Compl. ¶ 14. Plaintiffs allege that Tyco installed the

fire alarm system at the Property “in the Fall of 2015.” Compl. ¶ 15.




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       Plaintiffs allege that on or about December 3, 2015, their property manager sent an e-mail

to Ms. Gehman to schedule an appointment to inspect the Property. Compl. ¶ 16. Plaintiffs

allege that on or about December 4, 2015, their property manager “communicated with” the City

and Ms. Gehman “to have them aware that a new alarm system had been installed and to request

them for inspection of the [P]roperty.” Compl. ¶ 17. Plaintiffs allege that on or about December

10, 2015, the Property passed the fire alarm inspection with the City’s Codemaster, who

separately reported the result of the inspection to the City. Compl. ¶ 18.

       Plaintiffs allege that on or about December 22, 2015, Ms. Gehman confirmed by e-mail

that “they have Plaintiffs’ document on their file showing that they passed the inspection.”

Compl. ¶ 19. Plaintiffs claim that, “[d]espite receiving document of passing the fire alarm

inspection, the Fire Department Defendants failed to issue certificate of rental suitability [for] the

[P]roperty and/or remove [the] yellow sign in front of the [P]roperty.” Compl. ¶ 20. Plaintiffs

claim that, “[a]s a result of Defendants’ failure to issue the certification, Plaintiffs were unable to

rent the [P]roperty and lost their source of income and were unable to pay the mortgage of the

[P]roperty.” Compl. ¶ 21. Plaintiffs claim that, consequently, the Property is now foreclosed

and scheduled to be sold at a sheriff’s sale on November 9, 2017. Compl. ¶ 22.

       Plaintiffs claim that “Defendants jointly and/or severally undertook and/or assumed a

duty to Plaintiffs to render reasonable, proper, adequate, prompt care and to avoid a harm to

them, which Defendants breached.” Compl. ¶ 23. Plaintiffs claim that the “aforesaid incident

was due solely to the negligence and carelessness of the Defendants, acting as aforesaid, and due

in no matter whatsoever to any act or failure to act on the part of the Plaintiffs.” Compl. ¶ 24.

Plaintiffs claim that “[a]ll Defendants knew or should have known that their action would harm




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Plaintiffs” and that they continue to have “emotional and financial harm due to Defendants’

action.” Compl. ¶¶ 25–26.

III.   STATEMENT OF THE QUESTIONS INVOLVED

       A.    WHETHER PLAINTIFFS’ CLAIMS AGAINST MR. BAST SHOULD BE
             DISMISSED AS TIME-BARRED?

             Suggested Answer: Yes.

       B.    WHETHER PLAINTIFFS’ SECTION 1983 SUBSTANTIVE DUE
             PROCESS CLAIMS AGAINST DEFENDANTS SHOULD BE DISMISSED
             FOR FAILING TO STATE A CLAIM UPON WHICH RELIEF CAN BE
             GRANTED?

             Suggested Answer: Yes.

       C.    WHETHER PLAINTIFFS’ SECTION 1983 PROCEDURAL DUE
             PROCESS CLAIM AGAINST DEFENDANTS SHOULD BE DISMISSED
             FOR FAILING TO STATE A CLAIM UPON WHICH RELIEF CAN BE
             GRANTED?

             Suggested Answer: Yes.

       D.    WHETHER PLAINTIFFS’ NEGLIGENCE CLAIMS AGAINST
             DEFENDANTS MUST BE DISMISSED FOR FAILING TO STATE A
             CLAIM UPON WHICH RELIEF CAN BE GRANTED?

             Suggested Answer: Yes.

       E.    WHETHER PLAINTIFFS’ TORTIOUS INTERFERENCE WITH
             CONTRACT CLAIMS AGAINST DEFENDANTS MUST BE DISMISSED
             FOR FAILING TO STATE A CLAIM UPON WHICH RELIEF CAN BE
             GRANTED?

             Suggested Answer: Yes.

       F.    WHETHER MR. BAST AND MS. GEHMAN ARE ENTITLED TO
             QUALIFIED IMMUNITY WITH RESPECT TO ALL CLAIMS BROUGHT
             AGAINST THEM BY PLAINTIFFS?

             Suggested Answer: Yes.




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IV.    SUMMARY OF ARGUMENT

       The numerous deficiencies in Plaintiffs’ Complaint warrant the dismissal of all claims

against all Defendants with prejudice. As an initial matter, all of Plaintiffs’ claims against Mr.

Bast are time-barred. Plaintiffs have also failed to make out a prima facie case of a substantive

or procedural due process violation against Ms. Gehman or Mr. Bast in their individual

capacities. Even if Plaintiffs had done so, Ms. Gehman and Mr. Bast are entitled to qualified

immunity with respect to such claims. The substantive and procedural due process claims

against Ms. Gehman and Mr. Bast in their official capacities must be dismissed as duplicative of

those identical claims against the City. Furthermore, Plaintiffs have not alleged the existence of

a policy or custom that warrants the imposition of Monell liability against the City as to the

substantive and due process claims.

       Plaintiffs’ negligence and tortious interference with contract claims against the City must

be dismissed because the City is entitled to immunity with respect to such claims under

Pennsylvania’s Political Subdivision Tort Claims Act (“PSTCA”). Ms. Gehman and Mr. Bast

are also entitled to PTSCA immunity on Plaintiffs’ tort claims, as there are no allegations that

these individuals acted outside of the scope of their municipal employment or acted in such a

way that constituted a crime, actual fraud, actual malice, or willful misconduct. In fact, there are

no allegations at all regarding any specific act or omission by either individual. In addition,

Plaintiffs have failed to make out a prima facie case of negligence or tortious interference with

contract against any Defendant.

       For these reasons, this Honorable Court must grant Defendants’ motion and dismiss

Plaintiffs’ Complaint with prejudice, as further amendment would be futile.




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V.     ARGUMENT

       A. Legal Standard

       In deciding whether to grant or deny a motion to dismiss brought pursuant to Federal

Rule of Civil Procedure 12(b)(6), the United States Supreme Court has held:

       While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
       detailed factual allegations, a plaintiff’s obligation to provide the grounds of his
       entitlement to relief requires more than labels and conclusions, and a formulaic
       recitation of the elements of a cause of action will not do. Factual allegations
       must be enough to raise a right to relief above the speculative level, on the
       assumption that all allegations in the complaint are true (even if doubtful in fact).

Bell Atlantic Co. v. Twombly, 550 U.S. 544, 555 (2007) (citations and footnote omitted); see also

Phillips v. County of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008) (noting that a plaintiff’s factual

allegations must be enough to raise the right to relief above the speculative level).

       Further, in Ashcroft v. Iqbal, 556 U.S. 662 (2009), the Supreme Court held that “a

complaint must contain sufficient factual matter, accepted as true, to state a claim for relief that

is plausible on its face. A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” 566 U.S. at 678.

       The Iqbal Court went on to specifically highlight the two principles which underpinned

its decision in Twombly. First, for the purposes of a motion to dismiss, courts must accept as true

all factual allegations set forth in the complaint, but courts are not bound to accept as true any

legal conclusions couched as factual allegations. Iqbal, 556 U.S. at 678; see also Fowler v.

UPMC Shadyside, 578 F.3d 203, 210–11 (3d Cir. 2009). Second, a complaint will only survive a

motion to dismiss if it states a plausible claim for relief, which requires a court to engage in a

context-specific analysis, drawing on the court’s judicial experience and common sense. Iqbal,

556 U.S. at 678; Fowler, 578 F.3d at 211. Where well-pleaded facts do not permit the court to



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infer more than the mere possibility of misconduct, the complaint has alleged-but has not shown-

that the complainant is entitled to relief. Iqbal, 556 U.S. at 678.

       This means that a court’s inquiry is normally broken into three parts: “(1) identifying the

elements of the claim, (2) reviewing the complaint to strike conclusory allegations, and then (3)

looking at the well-pleaded components of the complaint and evaluating whether all of the

elements identified in part one of the inquiry are sufficiently alleged.” Malleus v. George, 641

F.3d 560, 563 (3d Cir. 2011).

       B. Plaintiffs’ Claims Against Mr. Bast Must Be Dismissed as Time-Barred.

       As an initial matter, Plaintiffs’ claims against Mr. Bast are time-barred and must be

dismissed with prejudice. All claims raised by Plaintiffs in this action are governed by a two-

year statute of limitations. See Moore v. Giorla, 302 F. Supp. 3d 700, 706 (E.D. Pa. 2018)

(noting that Section 1983 claims brought in Pennsylvania courts are governed by the two year

limitations period for personal injury actions); 42 Pa C.S. § 5524(2) (establishing a two-year

limitations period for negligence claims); 42 Pa. C.S. § 5524(3) (establishing a two-year

limitations period for tortious interference with contract claims).

       Notably, the Complaint contains no allegations of specific acts or omissions by Mr. Bast.

Insofar as Plaintiffs generally allege undated actions or omissions by the City’s Fire Department,

these alleged acts or omissions can only logically be construed to date to late 2015 or early 2016.

See Compl. ¶ 20. The Writ, which Plaintiffs filed on July 28, 2017, only brings claims against

the City and Ms. Gehman. Plaintiffs did not name Mr. Bast as a party to this action until filing

the Complaint on August 6, 2018. Plaintiffs did not serve Mr. Bast with the Complaint until

January 16, 2019, two days after reinstating the Complaint. As more than two years passed




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between any potential act or omission by Mr. Bast and the filing of the Complaint, any claims

brought against him in the Complaint are time-barred and must be dismissed with prejudice.

       C. Plaintiffs’ Section 1983 Due Process Claims Must Be Dismissed for Failing to
          State a Claim Upon Which Relief Can Be Granted.

       In Count I of the Complaint, Plaintiffs bring Section 1983 claims against all Defendants

based on an alleged deprivation of their substantive due process rights. In Count II of the

Complaint, Plaintiffs bring Section 1983 claims against all Defendants based on an alleged

deprivation of their procedural due process rights. These claims must be dismissed for failing to

state a claim upon which relief can be granted against Defendants.

           1. Ms. Gehman and Mr. Bast

               a.      Official Capacity

       As an initial matter, Plaintiffs’ Section 1983 due process claims against Ms. Gehman and

Mr. Bast in their official capacities must be dismissed with prejudice. It is well-established that a

“suit against a city official named in his or her official capacity is a suit against the entity he or

she represents.” Estate of Tyler ex rel. Floyd v. Grossman, 108 F. Supp. 3d 279, 289 (E.D. Pa.

2015) (citing Hafer v. Melo, 502 U.S. 21, 27 (1991) (“State officers sued for damages in their

official capacity are not ‘persons’ for purposes of the suit because they assume the identity of the

government that employs them.”)). “[B]ecause claims against individual defendants in their

official capacities are equivalent to claims against the governmental entity itself, they are

redundant and may be dismissed.” Burton v. City of Philadelphia, 121 F. Supp. 2d 810, 812

(E.D. Pa. 2000) (citing Hafer, 502 U.S. at 25 (noting that Section 1983 claims against

government officials in their official capacity should be treated as claims against the

governmental entity)). As Plaintiffs’ Section 1983 due process claims against Ms. Gehman and

Mr. Bast in their official capacities are, in fact, claims against the City, they must be dismissed



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with prejudice as redundant. In addition, as discussed more fully below, there are no factual

allegations to support the existence of a policy or custom to support Monell liability against the

City and, in turn, Ms. Gehman and Mr. Bast, with respect to Plaintiffs’ Section 1983 due process

claims. Accordingly, for the foregoing reasons, Plaintiffs’ Section 1983 due process claims

against Ms. Gehman and Mr. Bast in their official capacities must be dismissed with prejudice.

               b. Substantive Due Process

       Plaintiffs have also failed to advance factual allegations to establish a prima facie

substantive due process violation against Ms. Gehman and/or Mr. Bast in their individual

capacities. These claims, therefore, must be dismissed with prejudice.

       Substantive due process protects rights “which are so rooted in the traditions and

conscience of our people as to be ranked as fundamental.” Zellner v. Monroe Cnty. Mun. Waste

Mgmt. Auth., 2008 WL 2962595, at *6 (M.D. Pa. July 28, 2008). To establish a Fourteenth

Amendment substantive due process claim for non-legislative action, Plainitffs must prove

deprivation of a fundamental property interest protected under the Fourteenth Amendment.

Nicholas v. Penn. State Univ., 227 F.3d 133, 139-40 (3d Cir. 2000) (citing Woodwind Estates,

Ltd. v. Gretkowski, 205 F.3d 118, 123 (3d Cir. 2000)). The primary protection of a property

interest is a procedural due process claim. Nicholas, 227 F.3d at 139. A deprivation that is legal

under procedural due process may violate the substantive component of the Due Process Clause

if the deprivation was deliberate and arbitrary. Id.

       “[I]n a due process challenge to [non-legislative] action, the threshold question is whether

the behavior of the governmental officer is so egregious, so outrageous, that it may fairly be said

to shock the contemporary conscience.” County of Sacramento v. Lewis, 523 U.S. 833, 847, n. 8




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(1998). Negligent conduct does not meet this threshold and, accordingly, does not qualify as a

constitutional due process violation. Id. at 849.

       The Complaint is deficient in several respects regarding Plaintiffs’ substantive due

process claims.    As an initial matter, rather than identifying the constitutionally-protected

fundamental property interest that Ms. Gehman and/or Mr. Bast allegedly violated, Plaintiffs

generally point to their “legal and long-standing Constitutional rights, including their rights

under the Fifth and Fourteenth Amendments of the United States Constitution.” Compl. ¶ 29.

Plaintiffs’ failure to allege the requisite protected fundamental property interest warrants the

dismissal of their substantive due process claims. See Moyer v. Borough of North Wales, 2000

WL 1665132, at * 3 (E.D. Pa. Nov. 7, 2000) (“Plaintiff’s claim fails because she does not allege

a deprivation of a legally protected . . . property interest. Accordingly, Plaintiff may not sustain

any claims under the Fourteenth Amendment.”); see also Doe v. SEPTA, 886 F. Supp. 1186,

1193 (E.D. Pa. 1994) (granting summary judgment against a plaintiff for failing to allege any

liberty or property interest of which defendants’ actions deprived the plaintiff).

       In addition, Plaintiffs have not alleged any specific act or omission by Ms. Gehman

and/or Mr. Bast that violated their unidentified fundamental property interest. See Rode v.

Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988) (“A defendant in a civil rights action must

have personal involvement in the alleged wrongs; liability cannot be predicated solely on the

operation of respondeat superior.”). “Because vicarious liability is inapplicable, ‘a plaintiff

must plead that each Government-official defendant, through the official’s own individual

actions, has violated the constitution.’” Acosta v. Democratic City Comm., 288 F. Supp. 3d 597,

636 (E.D. Pa. 2018) (quoting Argueta v. U.S. Immigration & Customs Enf’t, 643 F.3d 60, 71 (3d

Cir. 2011)). “The government official ‘must have had some sort of personal involvement in the




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alleged unconstitutional conduct’ to be held liable.” Acosta, 288 F. Supp. 3d at 636 (quoting

Argueta, 643 F.3d at 71). As Plaintiffs have failed to allege any personal involvement2 by Ms.

Gehman and/or Mr. Bast with respect to any alleged act and/or omission that allegedly deprived

them of their unidentified fundamental property interest, these claims must also be dismissed

with prejudice. See, e.g., Acosta, 288 F. Supp. 3d at 638 (dismissing Section 1983 claims against

defendant where the complaint failed to include any facts showing personal involvement); Smith

v. City of Philadelphia, 2017 WL 277570, at *6 (dismissing Section 1983 claims against

defendants where the complaint failed to include any facts showing personal involvement).

        Finally, given Plaintiffs’ failure to allege any constitutionally-protected fundamental

property interest and any specific act or omission by Ms. Gehman and/or Mr. Bast that violated

that interest, it follows that there are no allegations to support a finding that any alleged act or

omission by Ms. Gehman and/or Mr. Bast was “so egregious, so outrageous, that it may fairly be

said to shock the contemporary conscience.” Lewis, 523 U.S. at 847, n. 8. The Third Circuit has

held that to establish a violation of substantive due process rights, the action alleged must be “so

ill-conceived or malicious that it shocks the conscience.” Miller v. City of Philadelphia, 174

F.3d 368, 375 (3d Cir. 1999).          This standard of culpability exceeds “both negligence and

deliberate indifference, and reach a level of gross negligence or arbitrariness that indeed ‘shocks

the conscience.’” Id. It “encompasses ‘only the most egregious official conduct.’” United

Artists Theatre Circuit, Inc. v. Tp. of Warrington, 316 F.3d 392, 400 (3d Cir. 2003) (quoting

Lewis, 523 U.S. at 846) (emphasis added). “[U]nder this standard, officials will not be held


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  “Allegations of personal involvement can be shown through actual knowledge and acquiescence, pled
with particularity.” Acosta, 288 F. Supp. 3d at 637 (emphasis added). “A supervisor also can be held
liable if he ‘implements a policy or practice that creates an unreasonable risk of a constitutional violation
on the part of the subordinate and the supervisor’s failure to change the policy or employee corrective
practices is a cause of this unconstitutional conduct.’” Id. (quoting Argueta, 643 F.3d at 72). The
Complaint is devoid of any allegations to this effect regarding Ms. Gehman and/or Mr. Bast.


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liable for actions that are merely negligent.” Miller, 174 F.3d at 375. Rather than alleging facts

regarding conduct that meets this high threshold, Plaintiffs merely recite boilerplate “magic

words” that amount to nothing more than conclusions of law. See Compl. ¶ 30. As such,

Plaintiffs have failed to establish a prima facie substantive due process claim against Ms.

Gehman and Mr. Bast which, in turn, warrants the dismissal of these claims with prejudice.

               c. Procedural Due Process

       In addition, Plaintiffs have failed to advance factual allegations to establish a prima facie

procedural due process violation against Ms. Gehman and/or Mr. Bast in their individual

capacities. These claims, therefore, must be dismissed with prejudice.

       To establish a Section 1983 procedural due process claim, Plaintiffs must show: (1) they

possessed a life, liberty, or property interest within the meaning of the Fourteenth Amendment

and (2) they did not have procedures available to them that would provide them with “due

process of law.” Robb v. City of Philadelphia, 733 F.2d 286, 292 (3d Cir. 1984). “Procedural

due process requires that a governmental deprivation of a protected interest be preceded by

notice and an opportunity to be heard.” Bullard v. City of Philadelphia, 847 F. Supp. 2d 711,

718 (E.D. Pa. 2012).      “The fundamental requirement of [procedural] due process is the

opportunity to be heard at a meaningful time in a meaningful manner.” Mathews v. Eldridge,

424 U.S. 319, 333 (1976).

       The Complaint is also deficient in several critical respects regarding Plaintiffs’

procedural due process claims. Once more, Plaintiffs fail to identify the property interest3 that

Ms. Gehman and/or Mr. Bast allegedly violated, instead generally pointing to their “legal rights

and interests related to and/or held within the [P]roperty” and their “legal rights and interests




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protected by the Fifth and Fourteenth Amendments of the United States Constitution . . . .”

Compl. ¶¶ 34, 36. As was the case for their substantive due process claims, Plaintiffs’ failure to

allege the requisite protected property interest requires this Honorable Court to dismiss their

procedural due process claims. See, e.g., Moyer, 2000 WL 1665132, at *3 (“Plaintiff’s claim

fails because she does not allege a deprivation of a legally protected . . . property interest.

Accordingly, Plaintiff may not sustain any claims under the Fourteenth Amendment.”); Doe, 886

F. Supp. at 1193 (granting summary judgment for plaintiff’s failure to allege any protected

interest that defendants’ actions deprived the plaintiff of).

       Also, contrary to the allegations in the Complaint, the City Code provides a mechanism

for Plaintiffs to challenge Defendants’ alleged “failure to proper procedure and reinspect

Plaintiffs’ property.” Compl. ¶ 35. In particular, Section 456-19(G)(1) of the Code, a true and

correct copy of which is attached hereto as “Exhibit A,” allows any person affected by a decision

of a City Code Enforcement Officer to appeal to the City’s Property Maintenance Board of

Appeals.

       Finally, and most crucially, Plaintiffs have again failed to allege any specific act or

omission by Ms. Gehman and/or Mr. Bast that violated any purported property interest.

Plaintiffs have failed to plead that these individuals, through their own individual actions, have

violated the Constitution. See Acosta, 288 F. Supp. 3d at 636. (E.D. Pa. 2018). In light of this

failure, Plaintiffs’ Section 1983 procedural due process claims against Ms. Gehman and/or Mr.

Bast must be dismissed with prejudice. See, e.g., Acosta, 288 F. Supp. 3d at 638 (dismissing

Section 1983 claims against defendant where the complaint failed to include any facts showing



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 For purposes of the procedural due process inquiry, this Honorable Court must look to state law to
determine whether a property interest exists. Dee v. Borough of Dunmore, 549 F.3d 225, 229 (3d Cir.
2008).


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personal involvement); Smith, 2017 WL 277570, at *6 (dismissing Section 1983 claims against

defendants where the complaint failed to include any facts showing personal involvement).

               d. Qualified Immunity

       Assuming, solely for the purposes of argument, that this Honorable Court does not

dismiss Plaintiffs’ Section 1983 due process claims against Ms. Gehman and Mr. Bast for the

reasons set forth above, these individuals are entitled to qualified immunity as to such claims.

       The doctrine of qualified immunity protects government officials performing

discretionary functions so long as their conduct does not violate established constitutional rights

of which a reasonable person would have known. Harlow v. Fitzgerald, 457 U.S. 800, 818

(1982). “A court required to rule upon the qualified immunity issue must consider, then, whether

the facts, taken in the light most favorable to the party asserting the injury, show the official’s

conduct violated a constitutional right. If no constitutional right would have been violated were

the allegations established, there is no necessity for further inquiries concerning qualified

immunity. On the other hand, if a violation could be made out on a favorable view of the

parties’ submissions, the next, sequential step is to ask whether the right was clearly established.

Saucier v. Katz, 533 U.S. 194, 201–02 (2001); Pearson v. Callahan, 555 U.S. 223, 236 (2009)

(noting that courts are not required to analyze qualified immunity cases in any particular order).

       The second step is the more intricate of the two. For a right to be “clearly established”

for purposes of the qualified immunity analysis, “the contours of the right must be sufficiently

clear such that a reasonable official would understand that what he is doing violates that right.”

Hughes v. Shestakov, 2002 WL 1742666, at *4 (E.D. Pa. July 22, 2002). The analysis of

whether a right was “clearly established” “must be undertaken in light of the specific context of

the case, not as a broad general proposition.” Curley v. Klem, 499 F.3d 199, 207 (3d Cir. 2007)




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(quoting Saucier, 533 U.S. at 201). Tellingly, “qualified immunity protects all but the plainly

incompetent or those who knowingly violate the law.” Id. at 206 (citation omitted).

       The constitutional claims alleged by Plaintiffs are not so “clearly established” as to

prevent Ms. Gehman and Mr. Bast from being entitled to qualified immunity. Plaintiffs’ due

process claims are predicated upon the alleged failure to “re-inspect” the Property and/or issue a

rental certificate for the Property. There does not appear to be any cases that have indicated that

the complained-of conduct implicates Plaintiffs’ constitutional rights in any way.

       In light of the foregoing, it is eminently reasonable that, when faced with the facts of this

matter, Ms. Gehman and/or Mr. Bast, were not aware of any potential violation of Plaintiffs’

constitutional rights. To this end, there are no allegations regarding their personal involvement

in any alleged due process violation. As such, Ms. Gehman and Mr. Bast are entitled to qualified

immunity and must have all constitutional claims against them dismissed with prejudice.

           2. City of Easton

       Although “municipalities and other local governmental units [are] included among those

persons to whom § 1983 applies,” it is well-established that “a municipality cannot be held liable

under § 1983 on a respondeat superior theory.” Monell v. Dep’t of Soc. Servs., 436 U.S. 658,

690–91 (1978). The liability of a municipality under Section 1983 is governed by Monell. See,

e.g., Seagraves v. Philadelphia Police Dep’t, 2016 WL 2735679, at *2 (E.D. Pa. May 11, 2016).

“[C]ourts have recognized a two-path track to municipal liability under § 1983, depending on

whether the allegation is based on municipal policy or custom.” Mulholland v. Gov’t Cnty. of

Berks, Pa., 706 F.3d 227, 237 (3d Cir. 2013); see also Bellmon v. City of Philadelphia, 895 F.

Supp. 2d 659, 663 (E.D. Pa. 2012) (“In a § 1983 suit against a municipality, the municipality

may only be liable if the allegedly unconstitutional action ‘implements or executes a policy




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statement, ordinance, regulation, or decision officially adopted and promulgated by that body’s

officers. Such actions can take two forms: an official policy or a custom or usage.”). “The

municipal policy or custom must be the ‘moving force’ behind the constitutional violation such

that there is a direct link between the municipal policy or custom and the deprivation of

constitutional rights.” McLaughlin v. Cunningham, 2014 WL 1225935, at *9 (E.D. Pa. Mar. 25,

2014) (citing Sullivan v. Warminster Twp., 765 F. Supp. 2d 687, 703 (E.D. Pa. 2011)).

       To survive a motion to dismiss, “a Monell claim must do more than make ‘conclusory

and general claims . . . .’” Seagraves, 2016 WL 2735679, at *2 (quoting Wood v. Williams, 568

F. App’x 100, 104 (3d Cir. 2014)); see also Winslow v. Borough of Malvern, 2009 WL 4609590,

at *6 (E.D. Pa. Dec. 7, 2009) (noting that to establish a Monell claim against a municipality, a

plaintiff must show “(1) the existence of a custom or policy of the municipality and (2) that the

municipality’s employees violated the plaintiff’s civil rights while acting pursuant to this custom

or policy.”).     “Simply paraphrasing § 1983 . . . fails to satisfy the rigorous standards of

culpability and causation required to state a claim for municipal liability.” Seagraves, 2016 WL

2735679, at *2.

       As detailed more fully above, Plaintiffs’ Section 1983 due process claims against Easton

fail as a matter of law because they have failed to set forth plausible facts which establish a

violation of their substantive and/or procedural due process rights. Even if, assuming solely for

the sake of argument, Plaintiffs had stated a substantive and/or procedural due process claim

under Section 1983, they have failed to allege facts that establish: (1) the existence of a

municipal custom, (2) the existence of a municipal policy, or (3) that Easton’s employees

violated their civil rights while acting pursuant to a custom or policy.




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       Plaintiffs have not alleged any facts that establish the existence of a policy. “Policy is

made when a decisionmaker possessing final authority to establish municipal policy with respect

to the action issues an official proclamation, policy, or edict.” Mulholland, 706 F.3d at 237.

There are no allegations in the Amended Complaint regarding any City employee, let alone a

decisionmaker possessing final authority to establish municipal policy,4 issuing an official

proclamation, policy, or edict. Although a single act can establish a municipal policy if it was

done pursuant to the direction of an official responsible for making policy in that area, see City of

St. Louis v. Praprotnik, 485 U.S. 112, 123 (1988), Plaintiffs have not made any factual

allegations that support or establish the existence of a municipal policy on this basis.

Accordingly, Plaintiffs have failed to allege facts that show the existence of a municipal policy.

       Similarly, Plaintiffs have not alleged any facts that establish the existence of a municipal

custom. “A course of conduct is considered to be a custom when, though not authorized by law,

such practices of state officials are so permanent and well-settled as to virtually constitute law.”

Mulholland, 706 F.3d at 237. The Complaint is devoid of any factual allegations regarding any

course of conduct by Ms. Gehman, Mr. Bast, or any other City employee.                   Accordingly,

Plaintiffs have also failed to allege facts that show the existence of a municipal custom.

       Finally, Plaintiffs have failed to advance any factual allegations that would suggest that

any alleged violation of their substantive due process rights under Section 1983 was the result of

Ms. Gehman, Mr. Bast, or any other Easton employee acting pursuant to a municipal custom or

policy. See McLaughlin, 2014 WL 1225935, at *9 (noting that “[t]he municipal policy or custom

must be the ‘moving force’ behind the constitutional violation . . . .”).




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 Plaintiffs have not even attempted to set forth plausible facts which show that Ms. Gehman or Mr. Bast
was a “final policymaker” for Easton.


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        As Plaintiffs have failed to advance factual allegations that suggest or show the existence

of a municipal policy or custom that lead to the alleged violation of their civil rights or that any

Easton employee acted in accordance with such a policy or custom, their Monell claim against

Easton fails as a matter of law. Accordingly, Plaintiffs’ Section 1983 substantive due process

claim against the City in Count I of the Complaint must be dismissed with prejudice.

        D. Plaintiffs’ Negligence Claims Must Be Dismissed for Failing to State a Claim
           Upon Which Relief Can Be Granted.

        In Count III of the Complaint, Plaintiffs bring negligence claims against all Defendants

based on Defendants’ alleged failure to “render proper services to Plaintiffs in accordance to the

standard of care required,” which is unidentified. See Compl. ¶¶ 37–38. These claims must be

dismissed for failing to state a claim upon which relief can be granted against Defendants.

            1. City of Easton

        Pennsylvania’s Political Subdivision Tort Claims Act (“PSTCA”), 42 Pa. C.S. § 8541 et

seq., provides broad immunity to the City against tort claims, such as negligence. The PTSCA

grants governmental immunity to local agencies, including municipalities, against claims for

damages on account of any injury to a person or to property by their own acts or their

employees’ acts, subject to eight exceptions.5 Randall v. City of Philadelphia, 2014 WL

4105984, at *9 (E.D. Pa. Aug. 20, 2014) (citing 42 Pa C.S. § 8541). Furthermore, a local agency

is also immune under the PSTCA from liability for its own acts or its employees’ acts that

constitute “a crime, actual fraud or willful misconduct.” 42 Pa C.S. § 8542(a)(2) (emphasis

added); see also Panas v. City of Philadelphia, 871 F. Supp. 2d 370, 375 (E.D. Pa. 2012) (“[The

PSTCA] shields local government entities from liability for the intentional torts of their



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  The PTSCA provides that a local agency may be liable for negligent acts with respect to: (1) vehicle
liability; (2) care, custody or control of personal property; (3) real property; (4) trees, traffic controls and


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employees.”); Holmes v. City of Philadelphia, 2005 WL 1875524, at *3 (E.D. Pa. Aug. 4, 2005)

(recognizing that the PSTCA “expressly bars recovery against a municipality for intentional

torts, including any acts which constitute ‘a crime, actual fraud, actual malice, or willful

misconduct.’”) (emphasis added).

        As Count II attempts to state a claim for negligence against the City, which does not fall

within the exceptions to immunity that the PTSCA affords to the City, this Honorable Court must

dismiss Plaintiffs’ negligence claim against the City with prejudice.

            2. Ms. Gehman and Mr. Bast

                 a. Immunity

        Plaintiffs’ negligence claims against Ms. Gehman and Mr. Bast must also be dismissed

with prejudice due to the immunity afforded to these individuals under the PTSCA. The PTSCA

grants employees of local agencies, including municipalities, the same immunity enjoyed by

their employer so long as the employee was acting within the scope of their employment. M.U.

v. Downingtown High School East, 103 F. Supp. 3d 612, 630 (E.D. Pa. 2015); see also 42 Pa.

C.S. § 8545 (“An employee of a local agency is liable for civil damages in account of any injury

to a person or property caused by acts of the employee which are within the scope of his office or

duties only to the same extent as his employing local agency and subject to the limitations

imposed by this subchapter.”). A local agency employee, however, does not enjoy this immunity

if “it is judicially determined that the act of the employee caused the injury and that such act

constituted a crime, actual fraud, actual malice or willful misconduct.”6 42 Pa. C.S. § 8550.




street lighting; (5) utility service facilities; (6) streets; (7) sidewalks; and (8) care, custody or control of
animals. 42 Pa C.S. § 8542(b).
6
  “Willful misconduct in this context has the same meaning as the term intentional tort.” Brown v.
Muhlenberg Tp., 269 F.3d 205, 214 (3d Cir. 2001).


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       There are no factual allegations in the Complaint that suggest that Ms. Gehman and/or

Mr. Bast acted outside of the scope of their employment at any time or that one or both

individuals acted in a way that constituted a crime, actual fraud, actual malice, or willful

misconduct. Indeed, Plaintiffs’ attempt to advance boilerplate conclusions that Defendants acted

with “reckless indifference to the consequences of their actions,” Compl. ¶ 42, is insufficient to

overcome the immunity Ms. Gehmand and Mr. Bast enjoy under the PTSCA. See Bright v.

Westmoreland County, 443 F.3d 276, 287 (3d Cir. 2006) (“Thus, even where a public employee

acts with a degree of culpability equivalent to ‘recklessness,’ Pennsylvania law nevertheless

affords him immunity.”) Therefore, because Plaintiffs’ negligence claims against Ms. Gehman

and Mr. Bast do not fall within any exception to immunity that the PTSCA affords to them, this

Honorable Court must dismiss such claims with prejudice.

               b. Prima Facie Case

       Even if, assuming solely for the sake of argument, this Honorable Court determines that

Ms. Gehman and/or Mr. Bast are not entitled to the dismissal of Plaintiffs’ negligence claims

against them based on immunity grounds, it must dismiss such claims due to Plaintiffs’ failure to

state a prima facie case of negligence.

       To state a claim for negligence under Pennsylvania law, Plaintiffs must allege facts

sufficient to show: (1) a duty or obligation recognized by the law, requiring the actor to conform

to a certain standard of conduct; (2) a failure to conform to the standard required; (3) a causal

connection between the conduct and the resulting injury; and (4) actual loss or damage resulting

to the plaintiff. Nw. Mut. Life Ins. Co. v. Babayan, 430 F.3d 121, 139 (3d Cir. 2005) (listing

elements of negligence claim under Pennsylvania law). Plaintiffs have failed to allege facts

sufficient to establish multiple elements of their prima facie case.




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        First, Plaintiffs have failed to allege facts sufficient to show what duty of care was owed

to them by Ms. Gehman and/or Mr. Bast or how these individuals breached the duty that was

owed. Instead, Plaintiffs merely allege that Defendants “owed [them] a duty of care” and “failed

to render proper services to Plaintiffs in accordance to the standard of care required.” Compl. ¶¶

38–39. Second, Plaintiffs have not alleged any facts that suggest a causal connection between

any alleged act or omission by Ms. Gehman and/or Mr. Bast and the alleged injury suffered by

Plaintiffs.    Again, Plaintiffs advance only boilerplate allegations that, “[a]s a direct and

proximate result of Defendnats’ action, Plaintiffs were harmed and suffered significant damages,

as well as other consequential and incidental damages.” Compl. ¶ 40. As detailed more fully

above, Plaintiffs have failed to allege any specific act or omission (i.e., personal involvement) by

Ms. Gehman or Mr. Bast.

        Based on the foregoing deficiencies in the Complaint, this Honorable Court must dismiss

Plaintiffs’ negligence claims against Ms. Gehman and Mr. Bast with prejudice for failing to state

a valid claim upon which relief can be granted.

        E. Plaintiffs’ Tortious Interference With Contract Claims Must Be Dismissed for
           Failing to State a Claim Upon Which Relief Can Be Granted.

        In Count IV of the Complaint, Plaintiffs bring tortious interference with contract claims

against all Defendants based on Defendants’ “tortious interference with Plaintiffs’ [P]roperty.”

See Compl. ¶¶ 30.7 These claims must be dismissed for failing to state a claim upon which relief

can be granted against Defendants.

              1. City of Easton

        Pennsylvania’s Political Subdivision Tort Claims Act (“PSTCA”), 42 Pa. C.S. § 8541 et

seq., provides broad immunity to the City against tort claims, such as tortious interference with




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contract. The PTSCA grants governmental immunity to local agencies, including municipalities,

against claims for damages on account of any injury to a person or to property by their own acts

or their employees’ acts, subject to eight exceptions. Randall, 2014 WL 4105984, at *9 (citing

42 Pa C.S. § 8541). Furthermore, a local agency is also immune under the PSTCA from liability

for its own acts or its employees’ acts that constitute “a crime, actual fraud or willful

misconduct.” 42 Pa C.S. § 8542(a)(2) (emphasis added); see also Panas, 871 F. Supp. 2d at 375

(“[The PSTCA] shields local government entities from liability for the intentional torts of their

employees.”); Holmes, 2005 WL 1875524, at *3 (recognizing that the PSTCA “expressly bars

recovery against a municipality for intentional torts, including any acts which constitute ‘a crime,

actual fraud, actual malice, or willful misconduct.’”) (emphasis added).

       As Count II attempts to state a claim for tortious interference with contract against the

City, which does not fall within the exceptions to immunity that the PTSCA affords to the City,

this Honorable Court must dismiss Plaintiffs’ negligence claim against the City with prejudice.

       2. Ms. Gehman and Mr. Bast

               a. Immunity

       Plaintiffs’ tortious interference with contract claims against Ms. Gehman and Mr. Bast

must also be dismissed with prejudice due to the immunity afforded to these individuals under

the PTSCA. The PTSCA grants employees of local agencies, including municipalities, the same

immunity enjoyed by their employer so long as the employee was acting within the scope of their

employment. See M.U., 103 F. Supp. 3d at 630; see also 42 Pa. C.S. § 8545 (“An employee of a

local agency is liable for civil damages in account of any injury to a person or property caused by




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  The allegations regarding Count IV are numbered in paragraphs 27 through 30, which follow the
allegations regarding Count III, which are numbered in paragraphs 37 through 42.


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acts of the employee which are within the scope of his office or duties only to the same extent as

his employing local agency and subject to the limitations imposed by this subchapter.”).

        There are no factual allegations in the Complaint that suggest that Ms. Gehman and/or

Mr. Bast acted outside of the scope of their employment at any time or that one or both

individuals acted in a way that constituted a crime, actual fraud, actual malice, or willful

misconduct. See 42 Pa. C.S. § 8550 (noting that municipal employees do not enjoy immunity

under the PTSCA if “it is judicially determined that the act of the employee caused the injury

and that such act constituted a crime, actual fraud, actual malice or willful misconduct.”).

Plaintiffs have not alleged facts suggesting that Ms. Gehman and/or Mr. Bast engaged in any

specific act or omission (i.e., personal involvement) or that they “desired to bring about the result

that followed” such alleged conduct. See Bright, 443 F.3d at 287. Therefore, because Plaintiffs’

tortious interference with contract claims against Ms. Gehman and Mr. Bast do not fall within

any exception to immunity that the PTSCA affords to them, this Honorable Court must dismiss

such claims with prejudice.

                b. Prima Facie Case

        Even if, assuming solely for the sake of argument, this Honorable Court determines that

Ms. Gehman and/or Mr. Bast are not entitled to the dismissal of Plaintiffs’ tortious interference

with contract claims against them based on immunity grounds, it must dismiss such claims due to

Plaintiffs’ failure to state a prima facie case of tortious interference.

        To state a claim for intentional interference with contractual relations under Pennsylvania

law, Plaintiffs must allege facts sufficient to show: (1) the existence of a contractual relationship;

(2) the defendant’s intent to harm the plaintiff by interfering with that contractual relationship;

(3) the absence of privilege for such interference; and (4) damages resulting from the defendant’s




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actions. Brokerage Concepts, Inc. v. U.S. Healthcare, Inc., 140 F.3d 494, 530 (3d Cir. 1998);

Triffin v. Janssen, 426 Pa. Super. 57, 626 A.2d 571, 574 (Pa. Super. 1993). Plaintiffs have failed

to allege facts sufficient to establish multiple elements of their prima facie case.

       First, Plaintiffs have failed to allege facts sufficient to show the existence of a contract

between themselves and any actual or prospective third party. Instead, they merely allege that

they have “a valid and enforceable right in their [P]roperty” and that Defendants tortuously

interfered with Plaintiffs’ Property. Compl. ¶¶ 28, 30. Second, even if Plaintiffs had sufficiently

alleged the existence of a contractual relationship, they have not alleged any facts that indicate

that Ms. Gehman and/or Mr. Bast intended to harm Plaintiffs by interfering with that contract.

Indeed, Plaintiffs have not even attempted to advance legal conclusions masked as factual

allegations to this effect. Nor could Plaintiffs meet this burden, as they have failed to allege any

specific act or omission (i.e., personal involvement) by Ms. Gehman or Mr. Bast.

       Based on the foregoing deficiencies in the Complaint, this Honorable Court must dismiss

Plaintiffs’ tortious interference with contract claims against Ms. Gehman and Mr. Bast with

prejudice for failing to state a valid claim upon which relief can be granted.




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VI.    CONCLUSION

       For all of the foregoing reasons, Defendants respectfully request that this Honorable

Court grant their motion and dismiss Plaintiffs’ Complaint with prejudice, as further amendment

would be futile.

                                    NORRIS MCLAUGHLIN, P.A.


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